
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-148-CV



GRANBURY ISD (SELF-INSURED)	APPELLANT



V.



CASEY THREADGILL	APPELLEE



------------

FROM THE 355TH
 
DISTRICT COURT OF HOOD COUNTY

------------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered “Appellant’s Motion To Dismiss.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue.



PER CURIAM	



PANEL D:	MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J.



DELIVERED: September 16, 2004

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




